          Case 1:21-mc-00194-KPF Document 6 Filed 02/18/21 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 IN RE SUBPOENA ISSUED IN:                        Misc No. 1:21-mc-00194

 MWK Recruiting, Inc. v. Jowers, et al.
 pending in the U.S. District Court for the
 Western District of Texas,                       CERTIFICATE OF SERVICE
 Case No. 1:18-cv-00444-RP

 BREAKING MEDIA, INC.
 dba ABOVE THE LAW,

                                   Petitioner,

                  -against-

 EVAN P. JOWERS,

                                 Respondent.


       I hereby certify that on February 18, 2021, I electronically mailed to Respondent’s

counsel, Robert Tauler, Esq., the Notice of Motion To Quash Non-Party Subpoena; Korzenik

Declaration with Exhibits A, B, C; Memorandum of Law; Miscellaneous Cover Sheet; and

Corporate Disclosure Statement filed in this action (ECF Doc. Nos. 1-5).



Dated: New York, New York                     MILLER KORZENIK SOMMERS RAYMAN LLP
       February 18, 2021
                                              By: /s/ David S. Korzenik
                                              David S. Korzenik
                                              dkorzenik@mkslex.com
                                              1501 Broadway, Suite 2015
                                              New York, New York 10036
                                              Phone: (212) 752-9200

                                              Attorneys for Breaking Media, Inc.
                                              d/b/a Above the Law
